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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
                                 Case No.: 1:20-cv-25112-DPG

  LUCIA VILLASANA,

           Plaintiff,

  v.

  PRINCIPAL LIFE
  INSURANCE COMPANY,

        Defendant.
  ______________________________/

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

           IT IS HEREBY STIPULATED AND AGREED by and between the parties, through their

  respective counsel, that the action may be, and hereby is, dismissed with prejudice pursuant to

  Rule 41(a) of the Federal Rules of Civil Procedure. Each party will bear its own attorneys’ fees,

  costs, and expenses.


  Respectfully Submitted this 21st day of July 2021,

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